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IN THE UNITED sTATEs DISTRICT CoURJUs msch C@URT
wEsTERN DIsTRICT oF ARKANSASWESTERN IIQL§S§DARKANSAS

 

 

 

HOT SPRINGS DIVISION
JAN 1 3 2015
CL!I§’IS R. JoHNsoN, Clerk
LAVENIA BANKS Depmy am
Plamtlff’ Civil Action No. { 5/ 900 CO
-against-
PORTFOLIO RECOVERY AS SOCIATES, JURY TRIAL DEMANDED
kl§irginia Corporation
Defendant.
ORIGINAL COMPLAINT

Plaintin Lavenia Banks (Banks), by his undersigned counsel brings this action against

Portfolio Recovery Associates, LLC (Portfolio), and states:

STATEMENT OF JURISDICTION AND VENUE

1. Jurisdiction ofthis Court arises pursuant to 28 U.S.C. §1331, 15 U.S.C.

§ I692k(d), 15 U.S.C. §1681p and 28 U.S.C. § 1367 for pendant State law claims.

2. This action arises out of Defendant’s violations of the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, et seq., violations of the Fair Credit Reporting Act, 15 U.S.C.
§1681, et seq. and violations of the Arkansas Deceptive Trade Practices Act, Ark. Code Ann. §4-

88-107(a)(10).

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3. The acts and events complained of in this Complaint occurred within Hot Springs,
Garland County, Arkansas.
4. Venue is proper pursuant to 28 U.S.C. §l39l(b)(2) because the events giving rise

to the claims occurred here, Plaintiff resides here, and Defendant transacts business here.

 

PARTII§S TO THE CLAIM
5 . The averments set forth in paragraphs 1-4 are adopted herein and incorporated as if
set forth word for word.
6. Banks is a resident of Hot Springs, Garland County, Arkansas, and is a “consumer”

as defined by 15 U.S.C. §1692a(3), and/or “any person” as defined by 15 U.S.C. §1692d;

7. At the time of the incident described further herein, Portfolio was a corporation
duly authorized to conduct business in the State of Arkansas as a “debt collector,” as that term is
defined by 15 U.S.C. §1692a(6) and is registered and licensed with the Arkansas State Board of
CoIIection Agencies, and attempting to collect a “debt,” as defined in 15 U.S.C. §1692a(5).

8. Portfolio is being served via its registered agent:

Corporation Service Company

300 Spring Building, Suite 900

300 S. Spring Street

Little ROck, AR 72201
FACTUAL BACKGROUND

9. The averments set forth in paragraphs 1-8 are adopted herein and incorporated as if

set forth word for word.

10. Portfolio filed a lawsuit against Banks in the District Court of Garland County,
Arkansas on September 26, 2014 alleging a consumer debt.
l l. The lawsuit and attached affidavit alleges Banks defaulted on a credit card account

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obligation with the original creditor, GE Capital Retail Bank/Wal-Mart. A copy of that suit is

attached hereto as “Exhibit 1” and incorporated as if set forth word for word.

12. Portfolio asserted it purchased and was assigned the account.

13. The Complaint filed by Portfolio, and the attached affidavit, reflect an amount due
of $840,71.

14. Upon information and belief,` the amount charged off` by the original creditor was
$588.00.

15 . Upon information and belief, the date of default was August2011.

16. Upon information and belief, the amount claimed in the lawsuit filed by Portfolio
contains interest and late charges accrued after the default date, as well as after it was charged off
by the original creditor.

17. The Truth in Lending Act (TILA) regulates the type of account at issue in this case.

18. TILA requires a creditor to send periodic statements to the debtor each billing cycle
if there is an outstanding balance on an account where a finance charge is imposed. 15 U.S.C.
§163 7(b).

19. That required periodic statement must contain certain required information which
describes what and how the creditor is assessing interest and finance charges. 15 U.S.C. §163 7 (b).

20. Consistent with 15 U.S.C. §1637(b), Regulation Z also requires creditors to “mail
or deliver a periodic statement as required by (12 C.F.R.) §226.7 for each billing cycle at the end
of which an account has a debit or credit balance of more than $1 or on which a finance charge

has been imposed.” Id. At 12 C.F.R. §226.5(b)(2)(i).

21. However, Regulation Z provides exceptions to this requirement that periodic

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statements be sent and enables creditors to not send those required periodic statements if the
creditor does certain things.

22. One of those exceptions is if the creditor has charged off the account in accordance
with loan-loss provisions and will not charge any additional fees or interest on the account 12
C.F.R. §226.5(b)(2)(i).

23. Therefore, under applicable regulations, GE Capital Retail Bank was required to
send periodic statements to Banks until it “charged-off the account in accordance with loan-loss
provisions and will not charge any additional fees or interest on the accoun .” 12 C.F.R.
§226.5(b)(2)(i).

24. Previous to the alleged purchase of the account by Portfolio from GE Capital Retail
Bank, GE Capital Retail Bank charged off an account alleged to have been incurred by Banks.

25. Because GE Capital Retail Bank had charged off the account, it was not required
to send periodic statements to Banks as would otherwise be required by law.

26. Therefore, after charging off the account, GE Capital Retail Bank did not send any
billing statements regarding the account to Banks.

27. GE Capital Retail Bank took advantage of the charge off exception to enable it to
not be required to send periodic billing statements.

28. The legal trade-off for entitling GE Capital Retail Bank to take advantage of the
charge off exception is that it was precluded by law from charging any additional fees or interest

on the account.

29. Therefore, after the account was written off, GE Capital Retail Bank was precluded

by law from charging additional fees or interest on the account because it had not sent out the

 

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periodic statements.

30. Portfolio professes to be in the same shoes as GE Capital Retail Bank due to its
purchase and assignment of the account.

31. Portfolio would not acquire any greater rights than GE Capital Retail Bank had at
the time of the alleged purchase.

32. By assessing interest and other charges for which there was no legal basis, Portfolio
is in violation of 15 U.S.C §16921`(1) which prohibits a debt collector from collection of any
amount (including any interest, fee, charge, or expense incidental to the principal obligation)
unless such amount is expressly authorized by the agreement creating the debt or permitted by
law.

33. By assessing charges, namely interest and late charges after the date of default,
which are not authorized by the agreement or law, Portfolio is in violation of 15 U.S.C. §I692e(5)
by taking action that cannot legally be taken.

34. The Complaint iiirther requests costs and for all other proper relief.

35. Because “costs and all other proper relief” are not authorized by the agreement
creating the debt, the Complaint seeks to collect amounts not authorized by contract in violation
of 15 U.S.C. §1692£(1).

36. By not attaching the agreement upon which it is suing, Portfolio is making a false
representation of the character, amount, or legal status of the debt in violation of 15 U.S.C.

§1692¢(2)(A).

37. By not attaching the agreement upon which it is suing, Portfolio is engaging in

unfair or unconscionable means in its attempt to collect the alleged debt in violation of 15 U.S.C.

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§1692f.

38. Portfolio has attached no evidence that it purchased the debt fi‘om the original
creditor and; thus, is taking action which cannot legally be taken in violation of 15 U.S.C.
§1692e(5).

39. Portfolio is in violation of 15 U.S.C. §1692e(10) by making false representations
and engaging in deceptive means in attempting to collect the debt by its inability to document any
agreement between Banks and any creditor.

40. Upon information and belief, the original creditor was Synchrony Bank and not GE
Capital Retail Bank.

41. At the time it commenced the action against Banks, Portfolio possessed insufiicient
evidence and intended not to further investigate in violation of 15 U.S.C. §1692(e)(5).

42. Upon information and belief, the principal amount charged off by the original
creditor was $588.00.

43 . ”lhe Complaint filed by Portfolio requests a judgment in the principal amount of
$840.71.

44. Portfolio is seeking to collect amounts not owed in violation of 15 U.S.C.
§1692e(2)(A) which prohibits the false representation of the character, arnount, or legal status of
any debt.

45. Upon information and belief, Banks’ account was delinquent and in default in
August, 2011.

46. The collection lawsuit filed by Portfolio was filed September 26, 2014.

47. Pursuant to Ark. Code Ann. §16-56-105(1), the statute of limitations for any

obligation not in writing is three years.

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48. Under applicable Arkansas law, a cause of action based upon a debt obligation
accrues When the debt goes into default.

49. As Banks’ alleged debt Went into default in August, 2011, the collection lawsuit
filed by Portfolio Was outside the applicable statute of limitations

50. Because Portfolio filed its collection lawsuit outside the applicable statute of
limitations, Portfolio took action that it could not legally take in violation of 15 U.S.C. §1692e(5).

51. Portfolio’s conduct violates the FDCPA for which strict liability applies pursuant
to 15 U.S.C. §1692, et seq.

52. Portfolio’s conduct violates the FDCPA for Which statutory damages apply
pursuant to 15 U.S.C. §'1692k(a)(2)(A).

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
53. The averments set forth in paragraphs 1-52 are adopted herein and incorporated as

if set forth Word for word.

54. Portfolio is in violation of the following sections of the Fair Debt Collection

Practices Act as alleged above:

a. 15 U.S.C. §1692e(2)(A): Making a false representation of the character,
amount, or legal status of any debt;

b. 15 U.S.C. §1692e(5): Taking action that cannot legally be taken or that is
not intended to be taken;

c. 15 U.S.C. §1692e(10): The use of any false representation or deceptive
means to collect any debt;

d. 15 U.S.C. §1692f: Using unfair or unconscionable means to collect or

attempt to collect any debt;

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e. 15 U.S.C. §1692f(l): The collection of any amount unless such amount is
expressly authorized by the agreement creating the debt or permitted by law.
VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

55 . The averments contained in paragraphs 1-54 are hereby incorporated as if set
forth word for word.

56. Portfolio reported to all three credit reporting agencies that Banks was indebted to
Portfolio in the amount of $841.00.

5 7. The original creditor reported a charge-off amount of $5 88.00

58. Portfolio, despite actual knowledge of the amount allegedly owed by Banks,
reported to all three credit reporting agencies that Banks was indebted to Portfblio in amount in
excess of what was charged-off by the original creditor and in an amount not owed in violation

of 15 U.s.c. lssrs-z(a)(l)(A).

VIOLATION OF THE ARKANSAS DECEPTIVE TRADE PRACTICES ACT

59. The averments contained in paragraphs 1-58 are hereby incorporated as if set
forth word for word.

60. By representing that the principal amount owed by Banks was $840.71 when,
upon information and belief, the principal amount owed was $588.00, Portfolio was engaged in
false and deceptive acts pursuant to Ark. Code Ann. §4-88-107(a)(10).

DAMAGES
61. The averments set forth in paragraphs 1-60 are adopted herein and incorporated as if

set forth word for word.

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62. As a direct and proximate result of the occurrence made the basis of this lawsuit,
Banks is entitled to the following damages:

a actual costs, expenses and attorney fees pursuant to 15 U.S.C §1692(k)(a)(3);
b. statutory damages in the maximum amount of: $1,000.00 pursuant to 15 U.S.C.

§ 1 692(k)(a)(2)(A).
c. actual damages pursuant to 15 U.S.C. §1692k(a)(1)

d. actual damages and attorney fees pursuant to Ark. Code Ann. §4-88-113(1).

e. actual damages and attorney fees and costs pursuant to 15 U.S.C. §1681n

DEMAND FOR JURY TRIAL
63. The averments set forth in paragraphs 1-62 are adopted herein and incorporated as

if set forth word for word.

64. Banks demands a jury trial on all issues so triable.

PRAYER

WHEREFORE, Banks prays that:

1. She be granted statutory damages pursuant to the 15 U.S.C. §1692k(a)(2)(A);

2. She be granted actual damages pursuant to the 15 U.S.C. §1692k(a)(1);

3. She be granted costs and attorney fees pursuant to 15 U.S.C. §1692k(a)(3).

4. She be granted actual damages and attorney fees pursuant to Ark. Code Ann. §4-88-

113(1).
5. She be granted actual damages and attorney fees pursuant to 15 U.S.C §1681n.

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Respectfully submitted,

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